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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA

)
)
Plaintiff ) Case No: 19 CR 888
)
Vv )
) Magistrate Judge: Jeffrey Cole
)
MAURICE MURPHY )
Defendant )
)

ORDER

Arrest warrant issued to Federal Bureau of Investigation as to defendant Maurice Murphy.

Date: November22, 2019 ‘LS A CL 7
a7

Jeffrey ol
.S. Magistrate Judge
